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                     UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

RICKY R. FRANKLIN,                         )
                                           )
             Plaintiff,                    )          Case No. 1:19-CV-3852-MLB
                                           )          Honorable Judge Michael L.
v.                                         )          Brown
                                           )
CITIMORTGAGE, INC.,                        )
                                           )
             Defendant.                    )          JURY TRIAL DEMANDED
                                           )

     CITIMORTGAGE, INC.’S MOTION FOR SUMMARY JUDGMENT

      COMES NOW Defendant CitiMortgage, Inc. (“CMI”) and, pursuant to Fed.

R. Civ. P. 56, LR 56.1, NDGa, this Court’s Standing Order No. 19-01, and this

Court’s Standing Order Regarding Civil Litigation (Dkt. No. 45), respectfully moves

this Court for an Order granting summary judgment in its favor and against Plaintiff

Ricky R. Franklin (“Plaintiff”) on all of Plaintiff’s claims as alleged in his Complaint

(Dkt. No. 3).

      The pleadings of record and discovery between the parties establish there is

no genuine dispute as to any material fact, and CMI has not violated the Telephone

Consumer Protection Act of 1991, 47 U.S.C. § 227, et seq. As a result, CMI is

entitled to judgment in its favor as to all counts in Plaintiff’s Complaint as a matter

of law.
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      This Motion is based upon:

      (i)     CMI’s Brief in Support of the Motion, concurrently filed herewith;

      (ii)    CMI’s Statement of Material Facts, concurrently filed herewith;

      (iii)   the Declaration of Kyle Ramey, dated March 25, 2021, in support of

              the Motion and all exhibits appended thereto;

      (iv)    select pages from the deposition transcript of Ricky R. Franklin taken

              December 15, 2020 (Dkt. No. 48);

      (v)     the Declaration of Amy L. Hanna Keeney, dated March 30, 2021, in

              support of the Motion and all exhibits appended thereto;

      (vi)    the Declaration of Don Hudecek dated March 25, 2021, in support of

              the Motion and all exhibits appended thereto; and

      (vii) all other records and filings in this action.

      WHEREFORE, CMI respectfully requests the Court grant this Motion and

enter summary judgment in favor of CMI and against Plaintiff on all claims for relief

in Plaintiff’s Complaint.




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    Respectfully submitted this 31st day of March 2021.

                                     ADAMS AND REESE LLP

                                     /s/ Amy L. Hanna Keeney
3424 Peachtree Road NE               Amy L. Hanna Keeney
Suite 1600                           Georgia Bar No. 509069
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                      CERTIFICATE OF COMPLIANCE

      The undersigned hereby certify that the foregoing has been prepared in Times

New Roman 14 font and is in compliance with United States District Court, Northern

District of Georgia Local Rule 5.1.

      This 31st day of March 2021.
                                       ADAMS AND REESE LLP

                                       /s/ Amy L. Hanna Keeney
3424 Peachtree Road NE                 Amy L. Hanna Keeney
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                          CERTIFICATE OF SERVICE

      I hereby certify that on March 31, 2021, I electronically filed the foregoing

MOTION FOR SUMMARY JUDGMENT with the Clerk of Court using the

CM/ECF system, and, in accordance with Standing Order No. 19-01, caused a copy

to be served by certified U.S. Mail, return receipt requested, to:


      Ricky R. Franklin
      708 Brambling Way
      Stockbridge, GA 30281

                                        ADAMS AND REESE LLP

                                        /s/ Amy L. Hanna Keeney
                                        Amy L. Hanna Keeney
                                        Georgia Bar No. 509069

                                        Counsel for Defendant CitiMortgage, Inc.

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